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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )
                                     )    4:07cr3148
     v.                              )
                                     )
MICHAEL B. YODER and                 )
GUSTAVO A. AVALOS,                   )       ORDER
                                     )
     Defendant.



     IT IS ORDERED:

     1. The motion of defendant Avalos for extension of time to
file pretrial motions, filing 40, is granted in part and the
deadline for filing any additional pretrial motions is extended
to February 15, 2008.

     2. The hearing on defendant Yoder’s motion to suppress,
filing 34, previously set for January 23, 2008, is continued and
will be held jointly with an evidentiary hearing on the motion to
suppress filed by defendant Avalos, filing 38, before the
undersigned on February 27, 2008 beginning at 1:00 p.m. in
Courtroom #2, United States Courthouse and Federal Building, 100
Centennial Mall North, Lincoln, Nebraska. Based on the
defendants’ requests, the court has set aside four hours for this
hearing.

     3. The defendants, defendants’ counsel, and counsel for the
government shall be present at this hearing.

     4. Pursuant to NECrimR 12.5, copies of all exhibits
expected to be offered into evidence during the hearing, except
those to be used for impeachment only, shall be delivered to the
chambers of the undersigned at least twenty-four (24) hours
before the hearing and, at the outset of the hearing, to the
extent reasonably possible, the parties shall provide the
undersigned and the courtroom deputy with a written list of all
witnesses the parties expect to call.

     5. As to both defendants, the trial of this case is
continued until further order of the court following resolution
of outstanding motions.
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    Dated January 17, 2008

                                   BY THE COURT

                                   s/  David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
